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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

QUALCOMM INCORPORATED,                          )
  a Delaware corporation,                       )
QUALCOMM TECHNOLOGIES, INC.,                    )
  a Delaware corporation,                       )    C.A. No. 24-490 (UNA)
                                                )
                     Plaintiffs,                )    JURY TRIAL DEMANDED
                                                )
       v.                                       )    REDACTED – PUBLIC VERSION
                                                )
ARM HOLDINGS PLC., f/k/a ARM LTD.,              )
  a U.K. corporation,                           )
                                                )
                     Defendant.


                                        COMPLAINT

       Plaintiffs Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively,

“Qualcomm”) complain and allege as follows against Defendant ARM Holdings PLC, formerly

known as ARM LTD. (“ARM”).1

                                   NATURE OF THE ACTION

       1.     Qualcomm is poised to release to the market innovative products enabled by

Qualcomm’s custom-designed, high-performance, low-power central processing units (“CPUs”)

utilizing a novel microarchitecture and related technologies that will deliver the next era of

computing innovation. Qualcomm’s first-in-line custom Oryon CPU, which is designed for the

compute market, is contained within the Snapdragon X Elite System-On-a-Chip (“SOC”). It



1
       On March 13, 2024, Qualcomm filed its Answer and Defenses to ARM’s Complaint and
Second Amended Counterclaims. (Arm Ltd. v. Qualcomm Inc., No. 22-1146-MN (D. Del. Mar.
13, 2024), D.I. 300.) This filing contains additional background on ARM’s attempt to preclude
Qualcomm’s custom central processing units from competing with ARM’s own central processing
units. The background allegations are set forth in paragraphs 1-47 and 175-273 of the redacted
and publicly available pleading. (Redacted Answer and Defenses to ARM’s Complaint and
Second Amended Counterclaims, Arm Ltd., No. 22-1146-MN (D. Del. Mar. 22, 2024), D.I. 306.)
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delivers up to 52% faster performance than the latest x86-based competition offerings at the same

power and matches the x86 competition’s peak performance at 60% lower power. When compared

to other competing ARM-based products, the Snapdragon X Elite delivers 28% faster multi-

threaded CPU performance, making it the industry leader in CPU performance and power

efficiency. While many in the industry see in this pivotal moment the opportunity for

technological advancement, ARM sees an opportunity to attempt to strong-arm Qualcomm into

renegotiating the financial terms of the parties’ longstanding license agreements by any means

necessary and to attempt to prevent Qualcomm’s custom CPUs from competing with ARM’s off-

the-shelf CPUs.

       2.      In furtherance of this effort, ARM has attempted to stifle Qualcomm’s

technological leaps in CPU design by intentionally withholding deliverables paid for and due to

Qualcomm under Qualcomm’s ARM architecture license agreement (“ALA”), misrepresenting

the existence of those deliverables when Qualcomm provided written notice of ARM’s failure to

deliver, and threatening to terminate Qualcomm’s licenses if it attempted to enforce its contractual

right to obtain the deliverables in question.

       3.      ARM’s refusal to honor its contractual obligation to timely deliver bargained-for

technology is a material breach of Qualcomm’s ALA and forms the basis of this action.

       4.      It is, however, only the latest in a series of tactics deployed by ARM to attempt to

inflict commercial damage on Qualcomm in its effort to force Qualcomm to acquiesce to

extraordinary financial demands that would undeservingly enrich ARM by hundreds of millions

of dollars for technology that ARM did not invent nor has any rights to.

       5.      First, ARM claimed, with no legal or contractual basis, that following Qualcomm’s

2021 acquisition of NUVIA Inc. (“NUVIA”) for $1.4 billion, Qualcomm needed ARM’s consent




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to transfer NUVIA’s technology to Qualcomm. ARM took the position that this allegedly

necessary “transfer” would require Qualcomm to pay hundreds of millions of dollars in “fees” and

much higher royalty rates for the duration of Qualcomm’s ALA. ARM later claimed that, absent

agreement to its terms, Qualcomm’s use of any technology started by NUVIA engineers—

including in products that were started at Qualcomm after the NUVIA acquisition, such as the

Snapdragon X-Elite—violated a license agreement between ARM and NUVIA that Qualcomm

was not using and that ARM ultimately terminated. This made no sense. Qualcomm has its own

license agreements for ARM technology and information that allowed it to develop and provide

custom ARM-compliant cores and products incorporating such cores to its customers (including

the Snapdragon X-Elite) for many years to come. Therefore, it did not need ARM’s consent.2

       6.     Second, ARM filed a meritless lawsuit against Qualcomm, alleging that Qualcomm

and NUVIA breached NUVIA’s terminated agreements with ARM and infringed ARM’s

trademarks by marketing custom CPUs after the NUVIA acquisition. In that action, ARM is

demanding that Qualcomm destroy these ground-breaking CPU products that Qualcomm

developed after the acquisition in accordance with the Qualcomm/ARM agreements—despite

ARM admitting that ARM has suffered no actual harm as a result of the conduct allegedly forming

the basis of ARM’s claims.3

       7.     Third, ARM promoted its lawsuit to Qualcomm’s customers in order to sow fear,

uncertainty, and doubt by suggesting that customers could not rely on Qualcomm as a supplier and




2
       Complaint, Arm Ltd., No. 22-1146-MN (D. Del. Aug. 31, 2022), D.I. 1.
3
        Redacted Answer and Defenses to ARM’s Complaint and Second Amended Counterclaims
¶¶ 29, 31-37, supra note 1; Redacted March 5, 2024 Hearing Transcript at 38:20-39:8, Arm Ltd.,
No. 22-1146-MN (D. Del. Mar. 26, 2024), D.I. 312-1; Joint Letter re Bench or Jury Trial, Arm
Ltd., No. 22-1146-MN (D. Del. Mar. 25, 2024), D.I. 308.


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could be subject to retaliation by ARM if they did, including by misrepresenting the terms of

Qualcomm’s licenses with ARM to Qualcomm’s customers.4

       8.      Fourth, ARM misused confidential information belonging to Qualcomm by

commercializing products containing such confidential information after repeatedly representing

in letters and court filings that ARM had, in accordance with its legal obligations, ceased using

that information.5

       9.      Finally, as noted above and as is at issue in this case, ARM deliberately withheld

deliverables to which Qualcomm is entitled under its ALA with ARM under the guise that

Qualcomm’s ALA does not entitle Qualcomm to support for “Nuvia-based technology.” ARM’s

excuse is unjustified, and its breach could not be more clear.

       10.     Qualcomm first suspected that ARM was withholding ALA deliverables in the fall

of 2022. At that point, Qualcomm sent a written notice of failure to deliver, but because certain

deliverables were solely within ARM’s actual knowledge and control, Qualcomm had no way of

knowing what exactly was being withheld, if anything, or for how long it had been withheld.

       11.     ARM capitalized on this lack of transparency, with its General Counsel stating

definitively that “[n]o failure of delivery has occurred.” ARM further stated that Qualcomm “

                                                      under its ALA applicable to Nuvia-based

technology like the design for which Qualcomm improperly seeks” deliverables. Here again,

ARM was exerting its leverage in an attempt to force Qualcomm to acquiesce in its unwarranted

demands.




4
       Redacted Answer and Defenses to ARM’s Complaint and Second Amended Counterclaims
¶¶ 255-70, supra note 1.
5
       Id. ¶¶ 234-45.


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           12.       ARM went on to state that Qualcomm’s written notice was a “malicious effort” to

cause ARM “economic duress” because “as much as                            ” was at issue, which ARM

purported was “inconsistent with the language, spirit, and purpose of the ALA and

                            .” Additionally, ARM threatened Qualcomm that, if Qualcomm availed

itself                                                                            , ARM would harm

Qualcomm, including by terminating Qualcomm’s multiple licenses with ARM.

           13.       ARM’s statement that “[n]o failure of delivery has occurred” was not true, and its

purported desire to uphold the “language, spirit, and purpose of the ALA” was a charade.

Discovery conducted as part of ARM’s meritless lawsuit against Qualcomm revealed

incontrovertible evidence that ARM not only had the deliverables in question, but that, at the time

Qualcomm sent its written notice of failure to deliver, ARM was intentionally withholding those

deliverables from Qualcomm as part of a negotiating tactic related to the parties’ dispute over the

NUVIA acquisition.

           14.       ARM never cured its failure to deliver, causing Qualcomm to expend additional,

unnecessary resources in designing and verifying its products.

           15.       ARM’s failure to deliver violated the Qualcomm ALA, which requires ARM to



              . Under the Qualcomm ALA, if ARM is found to be in breach of Section

         , it must                                                                      . If ARM fails

                                                                              , pursuant to Section




                                                     5
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       16.     ARM’s withholding of deliverables and deliberate decision not to cure the issue

within the time prescribed by the contract is a material breach of the Qualcomm ALA.

Accordingly, Qualcomm is entitled to financial damages, including but not limited to




       17.     ARM’s non-compliance with its contractual obligations to Qualcomm should be

seen for what it is: the latest in a series of anti-competitive maneuvers intended to extract hundreds

of millions of dollars from Qualcomm by renegotiating license agreements ARM’s current

management views as disadvantageous. ARM’s decision to weaponize its failure to provide

technology as a negotiating tactic—against a decades-long partner, merely because it is expedient

for ARM to do so—should be wholly rejected, particularly given the many licensees who expect

ARM to uphold the terms of their agreements every day, not only when it benefits ARM to do so.

                                          THE PARTIES

       18.     Plaintiff Qualcomm Incorporated is a Delaware corporation with its principal place

of business in San Diego, California. Qualcomm is a leading technology innovator in mobile

communication products and the driving force behind the development, launch, and expansion of

5G technology. Qualcomm’s foundational technologies enable the mobile ecosystem and are

found in every 3G, 4G, and 5G smartphone. Qualcomm brings the benefits of mobile to new

industries, including automotive, the internet of things, and computing, where Qualcomm’s

technology has driven the convergence of PC and mobile technology to increase productivity,

connectivity, and security in portable laptops.

       19.     Plaintiff Qualcomm Technologies, Inc. is a Delaware corporation with its principal

place of business in San Diego, California. Qualcomm Technologies is a wholly-owned subsidiary


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of Qualcomm Incorporated and operates, along with its subsidiaries, substantially all of

Qualcomm’s engineering, research and development functions, and substantially all of its products

and services businesses, including its QCT semiconductor business.

       20.     Defendant ARM Holdings PLC is a U.K. corporation headquartered in Cambridge,

United Kingdom.

                                JURISDICTION AND VENUE

       21.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 as there is complete diversity of citizenship between the parties and the amount in

controversy exceeds $75,000.

       22.     Venue is proper in the District of Delaware under 28 U.S.C. § 1391(c)(3) because

ARM is “a defendant not resident in the United States” and therefore can be “sued in any judicial

district.” ARM has also consented to and availed itself of the District of Delaware by suing

Qualcomm in the District of Delaware.6

                                  FACTUAL ALLEGATIONS

       I.      ARM LICENSES AND THE CUSTOM CPU MARKET

       23.     ARM is in the business of developing and licensing technology for processors used

in a variety of different products, including, but not limited to, servers, mobile phones, and cars.

ARM’s licensing model is based on receiving both upfront license fees and royalties, the amounts

of which are negotiated with each licensee.

       24.     ARM’s ALAs grant licensees the right under ARM’s intellectual property

                                                                                     using specific




6
       Complaint, supra note 2.


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licensed technology and to manufacture, sell, and distribute

                         .7

       25.     CPU Cores (also known simply as cores) are a particular component of SOCs,

which are integrated circuits used in cellular phones, computers and other devices that combine

several technologies used in such products into a single chip. A core or CPU performs processing

within the SOC.

       26.     An                         is compatible with the ARM instruction set architecture

(“ISA”). As a general matter, an ISA lists the instructions that allow hardware (like SOCs) to

interact with software programs. Application and software developers create their products to be

compatible with particular ISAs.

       27.     The ARM ISA allows for compatibility across all ARM-compatible products, as

those products can receive the same inputs (instructions) and, for each of those inputs, determine

and output the proper result. The ARM ISA does not tell a designer how to design or build a CPU

core, nor any of the internal design features that deliver superior performance and make a CPU

competitive.

       28.     To make a CPU that then can execute the ARM ISA and therefore run compatible

applications and other software, the CPU developer must design and build a complicated integrated

circuit consisting of billions of transistors connected into arrays that form larger, interconnected

blocks. Building a CPU requires detailed micro-architectural know-how and expertise in multiple

disciplines unrelated to the ISA, and requires expertise in cache design, branch prediction



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techniques, prefetchers, memory coherency/consistency paradigms, dependency resolution logic,

schedulers, power delivery, power measurement and management, clocking methodology, and

many other areas.

       29.    A CPU developer developing a custom CPU designs how the core is built, how it

performs, and how it executes the CPU’s instructions. There are a virtually infinite number of

ways to design and build CPUs that can implement the ARM instruction set. Companies that

design custom CPUs employ armies of engineers who make countless design choices and tradeoffs

to improve the size, computing performance, power consumption, heat dissipation, and other

important features of CPUs.

       30.    Under an ALA license, ARM does not deliver any specific ARM design or tell the

licensee how to make the CPU. That technological development and innovation—and the

resulting product that may meet or fail the performance benchmarks necessary to succeed in the

market—is left to the licensee. As ARM has publicly acknowledged, “the creation of an optimized

CPU is very costly and time consuming,” and ARM, therefore, “expect[s] the number of new

[ALA] licensees for this technology to diminish over time as the effort required on their part to

provide the customization often does not provide a reasonable return on investment.”8 If the

licensee is willing to put in the extraordinary effort and investment to develop a custom CPU,

however, an ALA licensee may develop differentiated CPUs, including differentiation from CPUs

developed and marketed by ARM.

       31.    ARM competes directly against architecture licensees by offering its own “off-the-

shelf” CPU designs that customers may license through a TLA. When a licensee seeks to sell

products incorporating ARM technology licensed under a TLA, ARM delivers complete processor


8
       Arm Holdings, Ltd., Registration Statement (Form F-1) (Aug. 21, 2023) at 86, 131.


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core designs that a licensee can incorporate into a larger SOC design, saving the licensee the

trouble and expense of designing its own CPU. But this comes at the cost of being beholden to

ARM and does not allow SOC developers to differentiate the CPU from other TLA licensees.

Moreover, when ARM fails to keep up with the state of the art in CPU development, as recently

has occurred in the compute market, any purchaser of off-the-shelf cores may offer SOCs that have

difficulty competing against more technologically-advanced CPUs.

       II.     QUALCOMM’S RELATIONSHIP WITH ARM AND CUSTOM CPU
               INNOVATIONS

       32.     Founded in 1985, Qualcomm was created with the goal of building “QUALity

COMMunications.” Qualcomm is a world leader in the design and production of semiconductor

microchips, including SOCs. Qualcomm’s chips power cellphones, computers, and an increasing

number of other modern machines. Qualcomm is also in the vanguard of new chip technologies,

and the company’s current “5G” technology is ushering in a new age of connectivity and speed for

wireless devices.

       33.     Qualcomm continues to invent foundational technologies that transform how the

world connects, computes, and communicates. In addition to its ground-breaking innovations in

wireless technology, Qualcomm designs platforms, chipsets, software, tools, and services that help

Original Equipment Manufacturers (“OEMs”) and developers bring those technologies into

products that change the way we live, including industry-leading smartphones with powerful

functionality, laptops with built-in cellular and 5G connectivity and long-lasting battery life, and

connectivity, infotainment, and Advanced Driver Assistance Systems products for the automotive

industry designed to deliver connected experiences that are safer and customizable.

       34.     Included among these products are custom CPUs and SOCs used in many different

end technologies, including cell phones, cars, laptops, and tablets.



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       35.      Qualcomm has held ARM licenses since 1997 and is today one of ARM’s largest

licensees—it “accounted for 11% of [ARM’s] total revenue for [ARM’s] fiscal year ended March

31, 2023.”9

       36.      On May 30, 2013, Qualcomm10 and ARM entered into an

                                  (the “QC ALA”),                       , and Annex 1 to that

agreement for                           deliverables. On June 23, 2020, Qualcomm and ARM

entered into an additional Annex 1 to the ALA for                        deliverables.

       37.      Under the ALA and corresponding Annex 1s, Qualcomm has




                                                                     Since Qualcomm entered

into its ALA, Qualcomm has developed and shipped custom ARM ISA-compatible CPUs.

       38.      In recent years, as ARM’s implementation cores have fallen behind custom cores

developed by other ARM ALA licensees, it has become more challenging for Qualcomm to

compete by relying on ARM-built cores. In particular, ARM has been unable to provide an

implementation core that is competitive in the compute market; thus, the need for developing

custom CPUs has become more critical.




9
       ARM Registration Statement, supra note 8, at 44.
10
       The actual party to the ALA and TLA was
                  The terms of the agreements



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       39.     Qualcomm’s custom ARM ISA-compatible CPUs do not belong to ARM. Instead,

as ARM has publicly acknowledged, Qualcomm’s custom CPUs “compete with” as well as “pose

a threat to Arm’s implementation IP business.”11

       40.     Since 2013, Qualcomm has paid ARM total license fees of                      and

running royalties of                           under its ALA. Qualcomm has fully complied with

its obligations under the Qualcomm ALA.

       41.     In March 2021, Qualcomm acquired NUVIA, a start-up focused on developing a

custom CPU and SOC, both specifically for use in data centers and servers.

       42.     At the time of the acquisition, NUVIA had built a team of world-class engineers

with unparalleled experience in developing custom CPUs. Qualcomm’s goal was to transition the

new Qualcomm employees to develop custom CPUs for its primary product segments of

“compute” (e.g., laptops/PCs), “mobile” (e.g., smartphones), and “automotive” (e.g., digital

cockpit). Qualcomm also planned to continue development of the server CPU and SOC for use in

data centers and servers (“Server SOC”) that NUVIA had originally intended to design.

       43.     As planned, Qualcomm’s custom CPUs will soon compete more effectively against

CPUs designed not only by ARM and its other ALA licensees, but also by rival suppliers of CPUs

compliant with other instruction set architectures (notably, Intel’s x86).

       44.     Qualcomm is not alone in its belief that its custom cores offering will transform

and advance the industry. Indeed, major industry participants—including Microsoft, Google,




11
     Initial Phase 2 Submission, Anticipated Acquisition by NVIDIA Corp. of ARM Ltd., U.K.
Competition & Markets Authority (Dec. 20, 2021) at 6-7.


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Samsung, GM, HP, and many others—praised Qualcomm’s planned innovations as benefitting

their products and end-customers.12

       III.    ARM UNFAIRLY AND UNLAWFULLY ATTEMPTED TO PREVENT
               QUALCOMM’S CUSTOM CORES FROM COMPETING WITH ARM’S
               OWN OFF-THE-SHELF CORES

       45.     Instead of lauding the advancements on the horizon or viewing the competition as

inspiration to develop an even better product for customers and opening new product segments for

ARM Compliant Cores, ARM has dug its heels in and endeavored to disrupt Qualcomm’s custom

cores development by any means necessary—unlawful means included.

       46.     Indeed, in an effort to limit competition posed by Qualcomm’s custom CPU, ARM

violated its contractual obligations to provide Qualcomm with deliverables paid for under the

Qualcomm ALA.

       47.     The two contract provisions at issue here—Sections        and    —are clear and

unambiguous.

       48.     Section     of the Qualcomm ALA requires ARM to



         and to

                                       ARM is also required to deliver

                                                                                              is

defined in the Qualcomm ALA as

                                                                                     under that

agreement.



12
        See Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


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       49.        Under Section     of the Qualcomm ALA,




       50.        Qualcomm first suspected that ARM was withholding                      under the

Qualcomm ALA in the fall of 2022. At that time, Qualcomm was embarking on its verification

process for its          SOC. As is the customary practice between an ALA licensee and ARM,

Qualcomm provided ARM with details about its             CPU so that ARM would provide a formal

list of agreed ARM Compliance Kit (“ACK”) tests for which ARM would expect to see

verification data. But ARM withheld the formal list of tests (known as the “OOB”)




       51.        Qualcomm then attempted to resolve the issue without court intervention.

       52.        On October 6, 2022, Qualcomm requested the OOB and various patches (e.g., bug

fixes) from ARM. ARM engineer Vivek Agrawal responded on October 10, 2022, writing, “I’ll

be able to share OOB and various patches after my management has given their approval.”

       IV.        QUALCOMM PROVIDED WRITTEN NOTICE OF ARM’S FAILURE TO
                  DELIVER—BUT ARM DID NOT CURE

       53.        Almost one month later and after still not having received the deliverables under

the ALA and for which Qualcomm had provided substantial consideration, on November 3, 2022,

Qualcomm notified ARM in writing of its failure to provide certain deliverables, including the



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OOB, stating explicitly that ARM should take the letter as “Qualcomm’s required notice under

Section       that ARM is not in compliance with its obligations under           , and that ARM

must cure this breach in accordance with the time and procedures set forth therein.”

       54.      After not hearing from ARM, pursuant to Section          of the Qualcomm ALA,

Qualcomm sent a follow-up letter on December 5, 2022. The letter was Qualcomm’s “second

written notice of non-compliance

          ” The letter stated that “ARM must

set forth” in the ALA “or                                                                .”

       55.      Pursuant to Section    of the Qualcomm ALA, ARM                        to remedy its

failure to provide the deliverable.            passed without ARM remedying the issue.

       56.      ARM responded on December 6, 2022.

       57.      In its response, ARM disagreed that Section     was at issue “or that provision of

the OOB implicates Section        ” ARM additionally asserted that the ACK deliverables are

governed by Section     of the Qualcomm ALA, not Section , and that remedies for a breach of

that section do not include                                     .

       58.      Notably, ARM additionally claimed that “[n]o failure of delivery has occurred,”

stating explicitly that ARM “provided Qualcomm with the

   long ago and has delivered          to that kit.” As to the OOB specifically, ARM claimed that

“the OOB is a subset of the tests Arm has already delivered to Qualcomm in the

          ”

       59.      ARM was definitive in its assertions, stating that “[n]o additional delivery is

required,” and “[n]o breach of             has occurred.” Qualcomm was unable to verify this

assertion because the “patches” are created by ARM and provided solely by ARM. Accordingly,




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Qualcomm has no way of knowing definitively whether ARM has released patches for verification

until they are delivered (or until someone from ARM tells Qualcomm they are available, which

did not occur in this case).

       60.     ARM’s letter further stated that Qualcomm “does not have verification, delivery,

or support rights under its ALA applicable to Nuvia-based technology like the design for which

Qualcomm improperly seeks” deliverables. ARM additionally threatened Qualcomm that if it did

not drop its invocation of Section   , ARM would take steps that would harm Qualcomm. ARM

claimed that Qualcomm’s invocation of Section         was “a new, material breach of the Qualcomm

ALA” and that, to the extent Qualcomm exercised its

                                       , ARM would “not hesitate to terminate” Qualcomm’s

licenses. ARM further stated that Qualcomm’s letter was a “malicious effort” to cause ARM

“economic duress,” which ARM purported was “inconsistent with the language, spirit, and purpose

of the ALA and                                       .”

       61.     But more than a year later, Qualcomm discovered that ARM’s December 6, 2022

letter misrepresented the facts and concealed ARM’s strategy of deliberately withholding the OOB

and other deliverables to which Qualcomm was entitled, seemingly in an effort to create

commercial leverage and cause Qualcomm legal and economic duress.

       62.     “On November 2, 2023[,] [] Arm produced a document [in related litigation]

describing how Arm intentionally withheld from Qualcomm formal lists of agreed verification

(‘ACK’) tests known as the ‘OOB.’” In response to Qualcomm’s requests for production, ARM

produced an October 2022 email chain in which Richard Grisenthwaite, ARM’s Executive Vice

President and Chief Architect, explicitly instructed others at ARM not to provide Qualcomm with




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the OOB and other deliverables connected to the verification suite. In the email, Mr. Grisenthwaite

stated “if [Qualcomm] complain[s] just say that I am reviewing it with our legal counsel.”13

       63.     In addition, “[o]n December 12, 2023, Arm engineer Vivek Agrawal testified at

deposition that Arm had withheld from Qualcomm certain ACK ‘patches.’” Mr. Agrawal’s

testimony and documents made clear that ARM concealed whether it was, in fact, adhering to its

contractual obligations by providing some deliverables and support but not providing others

(including the OOB and the patches). ARM’s multi-tiered deception was successful for more than

a year. “[I]t was not until Mr. Agrawal’s deposition that Qualcomm was able to confirm whether

the aforementioned patches even existed, let alone that they were improperly withheld in violation

of Section    of the Qualcomm ALA.”14

       64.     The applicable Annex 1 to the Qualcomm ALA includes




       65.     Accordingly, when it was revealed through document and deposition testimony

that, contrary to ARM’s December 6, 2022 letter, ARM had deliberately withheld the ACK



13
       On March 5, 2024, Judge Hatcher held a hearing on Qualcomm’s motion to amend its
counterclaims to include ARM’s breach of Section            of the ALA. These allegations and
quotations taken from the redacted and publicly available transcript of that hearing and the Court’s
subsequent order. (Redacted March 5, 2024 Hearing Transcript, supra note 3; Redacted March 6
Order, Arm Ltd., No. 22-01146-MN (D. Del. Mar. 20, 2024), D.I. 303-02.) Notably, at that
hearing, ARM advocated against adding this claim to the case in which this discovery was
produced; and instead, ARM advocated for Qualcomm bringing a separate lawsuit. (Redacted
March 5, 2024 Hearing Transcript, supra note 3, at 39:13-20.)
14
       Redacted March 6 Order, supra note 13, at 4; see also Redacted March 5, 2024 Hearing
Transcript, supra note 3, at 17:18-19:9 (discussing chart Agrawal used to “clear up his own
confusion and make sure there was alignment internally” on what was being withheld from
Qualcomm and what was not being withheld; the “top half of the chart [listed] things that sa[id]
‘continue support as earlier,’” and “things on the bottom of the chart, which include[d] the OOB
and also the patches, sa[id] ‘no support unless legal approves.’”).


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deliverables to which Qualcomm was entitled, it became clear that ARM breached its obligations

under Section      of the Qualcomm ALA.

       66.      ARM’s General Counsel concealed the facts, explicitly (and definitively) stating in

ARM’s December 6, 2022 letter that it had provided Qualcomm with              to the ACK and that

“[n]o failure of delivery ha[d] occurred.” Qualcomm did not have a valid basis to dispute that

factual representation without discovery.

       67.      To date, ARM still has not provided the OOB and relevant patches to which

Qualcomm is entitled, and ARM’s failure to do so increased Qualcomm’s burden in verification.

       68.      By failing to deliver the OOB, ARM forced Qualcomm to expend extra time and

resources to run ACK tests to verify that its products are compliant with the ARM architecture,

even in the absence of the OOB deliverables, which Qualcomm paid for and was entitled to receive

under the ALA.

       69.      Similarly, by failing to deliver the patches, ARM forced Qualcomm to use its own

engineers to address issues that would have been addressed by ARM’s patches, which Qualcomm

paid for and was entitled to receive under the ALA. Qualcomm was damaged as a result.

       70.                                                     .

       71.      Pursuant to Section    of the Qualcomm ALA:




       72.      Accordingly,




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                                .

       73.     In addition, because Qualcomm




       V.      ARM’S WELL-ESTABLISHED EFFORTS TO LIMIT INNOVATION AND
               RESTRICT COMPETITION ARE HARMFUL TO THE INDUSTRY AND
               TO ARM ITSELF

       74.     ARM’s efforts to interfere with Qualcomm’s CPU innovations and stifle

competition must come to an end.

       75.     ARM’s tactics violate basic contract principles and are directly contrary to the

purpose of the ALA, which will have little value if licensees cannot rely on executed ALAs to

receive the deliverables and           they bargained for without fear that ARM will unilaterally

decide to abdicate its contractual obligations in an effort to disrupt a licensee’s innovation solely

because ARM views the licensee as a competitor poised to reach new heights, including

developing CPUs that are superior to ARM’s offerings.




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        76.       ALA licensees must be assured that they can freely develop custom cores (at their

own risk and expense) and that their success in so doing will not be used against them.

                                              COUNT I
                                       (Declaratory Judgment)

        77.       Plaintiffs incorporate by reference all allegations set forth in the preceding

paragraphs as though fully set forth herein.

        78.       Plaintiffs are entitled to a declaratory judgment that:

        a.        ARM breached the Qualcomm ALA by withholding                   that ARM
                  was obligated                         to deliver under Section     of the
                  Qualcomm ALA, and by withholding        ARM was required to deliver
                                          under Section   of the Qualcomm ALA;

        b.        As a result of ARM’s breach of Section        of the Qualcomm ALA, Qualcomm is
                  entitled to
                                    ; and

        c.        Qualcomm’s efforts                                 of the Qualcomm ALA
                  do not entitle ARM to terminate Qualcomm’s ARM licenses.

        79.       A judicial declaration pursuant to the Federal Declaratory Judgment Act (28 U.S.C.

§§ 2201-02) concerning this matter is necessary and appropriate so that Qualcomm can confirm

its belief that

                                       .

        80.       A valid and justiciable controversy exists between Qualcomm and ARM because

                                                    as ARM is threatening to terminate Qualcomm’s

ALA license if Qualcomm                                         pursuant to Section   of the ALA.

                                            COUNT II
                           (Breach of Section  of the Qualcomm ALA)

        81.       Plaintiff Qualcomm repeats and realleges all of the preceding allegations as if set

forth fully herein.

        82.       The Qualcomm ALA is a valid, binding contract.


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       83.      ARM failed to fulfill its obligation under Section           of the Qualcomm ALA

because it intentionally withheld from Qualcomm certain ARM Technology to which Qualcomm

was entitled, including the OOB and certain “patches” used for verification.

       84.      Accordingly, ARM did not

                                                                                 or



        or deliver

                                                 as is required by Section     of the agreement.

       85.      ARM’s failure to comply with its contractual obligation

                            was not only intentional, but it was also done with an intent to deceive

Qualcomm.

       86.      Qualcomm put ARM on written notice of this violation and ARM

                , as is required under the contract.

       87.      ARM’s breach of Section            of the Qualcomm ALA entitles Qualcomm

                                                                                             .

       88.      As a proximate result of ARM’s breach of contract, Qualcomm has been damaged

both (i) by delay that could have been avoided had ARM fulfilled its obligations, (ii) by costs and

expenses incurred by Qualcomm expending extra time and resources to run the ACK tests to verify

that its products are compliant with the ARM architecture and use its own engineers to address

issues that would have been addressed by ARM’s patches, and (iii) by



             had ARM not misrepresented its compliance with the parties’ agreement.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request judgment and relief as follows:

       a.      For the declaratory judgments set forth in Plaintiffs’ claims;

       b.      For an Order requiring ARM to comply with its obligations under Qualcomm’s

license agreement, including (but not limited to) by providing the                        , OOB,

Patches, and          without discrimination or retaliation;

       c.      For an Order that

                           ;

       d.      For recovery of all

                                                           ;

       e.      For cost and expenses incurred in connection with Qualcomm obtaining specific

performance and other equitable relief;

       f.      For additional damages, in the alternative, that the Court deems appropriate;

       g.      For an award of attorneys’ fees and costs as allowed by law; and

       h.      For such other and further relief as the Court may deem just and proper.

                                          JURY DEMAND

       Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Qualcomm hereby demands a TRIAL

BY JURY of all claims and issues presented in this Complaint that are so triable.




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                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Jennifer Ying
                                          __________________________________
OF COUNSEL:                               Jack B. Blumenfeld (#1014)
Karen L. Dunn                             Jennifer Ying (#5550)
William A. Isaacson                       1201 North Market Street
Melissa F. Zappala                        P.O. Box 1347
Ruby J. Garrett                           Wilmington, DE 19899
PAUL, WEISS, RIFKIND, WHARTON             (302) 658-9200
  & GARRISON LLP                          jblumenfeld@morrisnichols.com
2001 K Street, NW                         jying@morrisnichols.com
Washington, DC 20006-1047
(202) 223-7300                            Attorneys for Plaintiffs

Catherine Nyarady
Erin J. Morgan
Madalyn G. Vaughn
Jacob A. Braly
PAUL, WEISS, RIFKIND, WHARTON
  & GARRISON LLP
1285 Avenue of the Americas
New York, NY 10019-6064
(212) 373-3000




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